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                        UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

 In re:                                          )
                                                 ) Case No. 21-30161
 CITY CHURCH,                                    )
                                                 ) Chapter 11, Subchapter V
                                                 )
                        Debtor.                  )

                          OBJECTION TO CHAPTER 11 PLAN

          The Office of the United States Bankruptcy Administrator for the Western District

of North Carolina (“Bankruptcy Administrator”) objects (the “Objection”) to the Debtor’s

Third Amended Chapter 11 Plan of Reorganization (Subchapter V) filed on May 21, 2022

[ECF No. 106] (the “Plan”), and says:

          1.    The Plan reflects the Debtor’s intention to sell its real estate and utilize the

sale proceeds along with income generated from its operations and third-party donations

to fund the Plan.

          2.    The real property sale contemplated by the Plan was previously approved

by entry of the Order Granting Debtor’s Motion for Private Sale of Real Property Outside

the Ordinary Course of Business Free and Clear of Liens and Other Interests Pursuant

to 11 U.S.C. § 363 (the “Sale Order”).

          3.    The transaction approved by the Sale Order has not closed but is

anticipated to close on or soon after July 5, 2022. Excess funds from the $300,000

provided by Jake Palillo to pay certain claims identified in the Plan (to the extent not

paid at closing) will be held by Michael Bowers, subchapter V trustee, pending further

order of the Court regarding application of such funds or return to Palillo.
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       4.     The Debtor filed projections on June 10, 2022 [ECF No. 113] and June 13,

2022 [ECF No. 114]. Portions of the later filed exhibits are not visible on the docket due

to the page orientation.

       5.     The projections do not appear to reflect the reality of the Debtor’s pre-

confirmation operations as reflected in the monthly operating reports.

              (a) The projected revenues appear to be overstated, and an anticipated 10%

                 increase in giving in November 2022 may be unrealistic. The projections

                 through November 2022 reflect $4,000.00 in facility rental income.

                 Based on communications in advance of closing on the sale, it is unclear

                 whether facility rentals would be income to the Debtor or to the new

                 owner of the Debtor’s real property.

              (b) The Debtor has enjoyed a long period with no payments on its bond

                 obligations, and it is unclear whether it will be able to afford to rent a

                 new facility absent a decrease in expenses.

       6.     The Debtor has the burden of proving feasibility under 11 U.S.C. §

1129(a)(11), made applicable in this case by 11 U.S.C. § 1191. The monthly status reports

filed in this case do not support a conclusion that the Debtor’s plan is feasible, in which

case the Plan cannot be confirmed. Alternatively, the Debtor should provide such other

evidence of the Debtor’s ability to perform under the Plan if approved.

       7.     The Plan only proposes to make payments over 3 years. Given the minimal

dividend for unsecured creditors, the Court should fix a term of 5 years for the Plan.

       8.     No certificate of service has been filed to reflect the mailing of ballots to

creditors to vote on the Third Amended Plan – only a notice of the deadline to vote so was
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docketed on June 9, 2022. The Debtor has not filed a ballot report. The Debtor may not

rely on prior ballots cast in favor of the Second Amended Plan in light of the significant

reduction in payments to general unsecured creditors in the current Plan.

      9.     The notice docketed on June 9, 2022, provided less than 28 days’ notice of

confirmation as required by Rule 2002(b) of the Federal Rules of Bankruptcy Procedure,

although the continuance of the confirmation hearing may address this issue.

      Wherefore, the undersigned asks that the Court sustain this Objection, deny

confirmation of the Debtor’s Plan, and grant such other and further relief as the Court

deems just and proper.



Dated: July 1, 2022.

                             /s/ Shelley K. Abel
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                             United States Bankruptcy Administrator
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